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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Sia Henry, et al.
                                 Plaintiff,
v.                                                  Case No.: 1:22−cv−00125
                                                    Honorable Matthew F. Kennelly
Brown University, et al.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 2, 2022:


       MINUTE entry before the Honorable Matthew F. Kennelly: In person oral
argument hearing held on 8/2/2022. Oral argument heard regarding the defendants'
motions to dismiss. Defendants' motions to dismiss [145] [146] [148] are taken under
advisement. Mailed notice. (mma, )




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